        Case 6:20-cv-00914-ADA Document 53 Filed 09/07/21 Page 1 of 1




                   UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF TEXAS
                               WACO
                               WACO DIVISION


PACSEC3, LLC                              §
                                          §      CIVIL NO:
vs.                                       §      WA:20-CV-00914-ADA
                                          §
NETSCOUT SYSTEMS, INC.                    §

                ORDER SETTING MARKMAN HEARING


    IT IS HEREBY ORDERED that the above entitled and numbered case is set
                                                                      set for
MARKMAN HEARING by Zoom
                    Zoom on Thursday, September 09, 2021 at 02:30 PM.

       IT                     7th day of September, 2021.




                                          Alan D Albright
                                          UNITED STATES DISTRICT JUDGE
